                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 1:12-cr-129-HSM-SKL
                                                       )
 v.                                                    )
                                                       )
 COREY WELCH                                           )


                              REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on February 18, 2014.

 At the hearing, defendant moved to withdraw his not guilty plea to Counts One and Two of the six-

 count Second Superseding Indictment and entered a plea of guilty to Counts One and Two of the

 Second Superseding Indictment. There is no plea agreement in this case. On the basis of the record

 made at the hearing, I find the defendant is fully capable and competent to enter an informed plea;

 the plea is made knowingly and with full understanding of each of the rights waived by defendant;

 the plea is made voluntarily and free from any force, threats, or promises, the defendant understands

 the nature of the charge and penalties provided by law; and the plea has a sufficient basis in fact.

        Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Counts

 One and Two be granted, his plea of guilty to Counts One and Two of the Second Superseding

 Indictment be accepted, and the Court adjudicate defendant guilty of the charges set forth in Counts

 One and Two of the Second Superseding Indictment. I further RECOMMEND defendant remain

 in custody until sentencing in this matter. Acceptance of the plea, adjudication of guilt, and

 imposition of sentence are specifically reserved for the district judge.

                                               s/fâátÇ ^A _xx
                                               SUSAN K. LEE
                                               UNITED STATES MAGISTRATE JUDGE




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                                       NOTICE TO PARTIES

          You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
 to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
 of guilty in this matter. See 28 U.S.C. §636(b).




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